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TBT --AGENDA

  

NlEETlNG lNFORNlATlON

 

 

Date: |V|arch 18, 2014

T:'me: 3:40pm ~ 4:30pm

Location: Library

Next Meeting: 4)"| 61 14

AGENDA |TEMS , PRESENTER
1 Common Core Cadre Presentation Ni|S Cadre

2 2014~2015 schedule Dan lVchrath
3 Look at exemplars of 0,1,2,3,4 points Staff

4 What are the trends in our students Writing Staff

5 Create an exemplar folder to view for examples Staff

6 Scoring Writing.... Norm scoring?? Staff

7 Goal setting worksheets for our l\/|AP & OAA tests Dan |V|cGrath
8 Questions & Adjournment ' Dan lVchrath

 

OTHER NOTES OR lNFORN|ATlON

 

Please bring the foilowing:

c Find 2 examples of each writing samples (ie. 2-'| point, 2-2po_int, 2~3p0int)
¢ Bring 3 copies of each example so We can share

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